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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

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IN RE INTERCEPT PHARMACEUTICALS, :
INC. DERIVATIVE LITIGATION       :                       Lead Case No. 1:21-cv-00101-MN
                                 :
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                      STIPULATION AND ORDER STAYING ACTION

       WHEREAS, on December 29, 2020, Plaintiff Delfin Rabinovich filed a shareholder

derivative action in the United States District Court for the Southern District of New York

against Defendants Paolo Fundarò, Luca Benatti, Nancy Miller-Rich, Daniel Welch, Mark

Pruzanski, Daniel Bradbury, Gino Santini, Srinivas Akkaraju, Keith Gottesdiener and Glenn

Sblendorio, and Nominal Defendant Intercept Pharmaceuticals, Inc. (“Intercept”), asserting state

law claims of breach of fiduciary duties, unjust enrichment, abuse of control and a claim for

contribution under Sections 10(b) and 21D of the Securities Exchange Act of 1934 (the

“Rabinovich” Action);

       WHEREAS, on January 27, 2021, the Parties stipulated to the transfer of the Rabinovich

Action to this Court, and on January 28, 2021, the Southern District of New York so-ordered the

stipulation to transfer and effected the transfer to this Court;

       WHEREAS, on February 1, 2021, Plaintiff Pearl Fung filed a related shareholder

derivative action in this Court captioned as Fung v. Fundaro, et al., Case No. 21-cv-00128-MN

(the “Fung Action”), which arises out of similar allegations, and is asserted against the same

defendants, in the Rabinovich Action;

       WHEREAS, on March 1, 2021, this Court consolidated the Rabinovich and Fung Actions

for all purposes under the caption In Re Intercept Pharmaceuticals, Inc. Derivative Litigation,

Lead Case No. 1:21-cv-00101-MN (the “Consolidated Derivative Action”);
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       WHEREAS, the Consolidated Derivative Action is related to, and arises out of, similar

factual allegations as are asserted in a putative securities fraud class action pending in the Southern

District of New York captioned as Chauhan v. Intercept Pharmaceuticals, Inc., et al., No. 21-cv-

00036 (LJL) (S.D.N.Y.) (the “Securities Class Action”);

       WHEREAS, on January 25, 2021, the lead plaintiff and lead counsel in the Securities Class

Action was appointed pursuant to the Private Securities Litigation Reform Act;

       WHEREAS, Defendants in the Securities Class Action expect that an amended

consolidated complaint will be filed in the Securities Class Action and Defendants expect to file a

motion to dismiss that consolidated amended complaint;

       WHEREAS, the Plaintiffs and Defendants (collectively the “Parties) in this Consolidated

Derivative Action believe that a ruling on the motion to dismiss in the Securities Class Action may

help inform the manner in which this Consolidated Derivative Action proceeds; and

       WHEREAS, in the interest of judicial economy, the Parties in this Consolidated Derivative

Action have agreed to stay the Consolidated Derivative Action, including motion practice and

discovery, until a decision is rendered on the motion to dismiss in the Securities Class Action.

       NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and among the

parties by their undersigned counsel, subject to approval of the Court, as follows:

       1.      All proceedings and deadlines in this Consolidated Derivative Action shall be

stayed until a decision is rendered on the motion to dismiss in the Securities Class Action.

       2.      Within thirty (30) days after the ruling on the motion to dismiss in the Securities

Class Action, the Parties in this this Consolidated Derivative Action will confer in good faith to

determine a schedule for further proceedings in this action if required, and will submit a proposed

scheduling stipulation for this Court's review and approval.




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       3.      In the event that any other Intercept shareholder files another shareholder derivative

action on behalf of Intercept based on the materially same set of facts alleged in this Consolidated

Derivative Action, Intercept agrees to notify Plaintiffs of that fact.

       4.      The parties agree that while the Consolidated Derivative Action is stayed, in the

event Defendants provide any documents in response to any demand for inspection of documents

made by any other Intercept shareholder based on the materially same set of facts alleged in the

Consolidated Derivative Action, Defendants agree to produce or provide for inspection those

documents to Plaintiffs subject to the same form and confidentiality requirements under which the

documents were produced or provided for inspection to the other Intercept shareholder.

       5.      Notwithstanding this stay of the Consolidated Derivative Action, Plaintiffs may file

an amended complaint during the pendency of the stay. Defendants shall be under no obligation

to respond to any such amended complaint while the Consolidated Derivative Action is stayed.

       6.      The Parties agree that, at any time during which this Consolidated Derivative

Action is stayed pursuant to this Stipulation, any Party may file a motion with the Court to lift the

stay, so long as the Party provides at least thirty (30) days written notice to the other Parties prior

to filing such a motion.

       7.      This Stipulation is without prejudice to, or waiver of, any rights, arguments, or

defenses otherwise available to the Parties to the Consolidated Derivative Action.




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Dated: March 12, 2021

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Co-Lead Counsel for Plaintiffs


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